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                                                                                           United States Bankruptcy Court
                                  UNITED STATES BANKRUPTCY COURT                               Southern District of Texas
                                    SOUTHERN DISTRICT OF TEXAS                                    ENTERED
                                                                                              November 19, 2024
In    Eddie Carl Lindsey                                                                       Nathan Ochsner, Clerk
Re:   Debtor                                         Case No.: 24−33610
                                                     Chapter: 13




                                       ORDER RESETTING DISMISSAL



      The chapter 13 trustee's motion to dismiss is continued until 12/17/24at 09:00 AM.




Signed and Entered on Docket: 11/19/24
